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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WASHINGTON
                           SEATTLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
      v.                                     )      2:20-cr-00217-JCC-9
                                             )
TRACY HAWKINS                                )

                        SENTENCING MEMORANDUM

      Ms. TRACY HAWKINS, pursuant to Fed. R. Crim P. 32, and in anticipation of

his sentencing hearing set for September 21, 2023, respectfully references the

previously submitted letters in support (ECF No. 670-671) for the Court’s review

and reserves the remainder of her argument for the forthcoming Sentencing

Hearing.


       Date:       September 15, 2023
                                        Respectfully submitted,

                                        s/ Serguel Akiti, Esq.
                                        Serguel Akiti, Esq.
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                                        Attorney for Defendant
                                        Tracy Hawkins
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                          CERTIFICATE OF SERVICE

      I certify that on September 15, 2023, I electronically filed the foregoing

NOTICE OF APPEARANCE with the Clerk of the United States District Court

for the Western District of Washington by way of the CM/ECF system, which

automatically will serve this document on the attorneys of record for the parties

in this case by way of electronic mail.

       Date:       September 15, 2023
                                          Respectfully submitted,

                                          s/ Serguel Akiti, Esq.
                                          Serguel Akiti, Esq.
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                                          sakiti@lowtherwalker.com

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                                          Tracy Hawkins
